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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLUMBIA

NICOLAS TALBOTT et al.,                       )
                                              )
      Plaintiffs,                             )
                                              )
v.                                            )        Civil Action No. 1:25-cv-00240
                                              )
UNITED STATES OF AMERICA et al.,              )
                                              )
      Defendants.                             )
                                              )

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